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                                                                     FILED
                                                     December 13, 2021
                      UNITED STATES DISTRICT COURT CLERK, U.S. DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION                         ps
                                                 BY: ________________________________
                                                                               DEPUTY

UMG Recording Inc. et al.         §            No. 1:17-CV-0365-DAE
                                  §
       Plaintiff,                 §
                                  §
vs.                               §
                                  §
Grande Communications Network LLC §
et al.                            §
                                  §
       Defendants.                §


        ORDER REFERRING MATTER TO MAGISTRATE JUDGE

       With the parties’ consent and in accordance with the authority vested in the

United States Magistrate Judge pursuant to 28 U.S.C. § 636, the instant action is

hereby REFERRED to United States Magistrate Dustin Howell for the purpose of

jury selection. Upon selection of the jury, the undersigned retains full jurisdiction

over all other matters.

      IT IS SO ORDERED.

      DATED: Austin, Texas, December 13, 2021.



                                UNITED STATES SENIOR DISTRICT JUDGE
                                DAVID A. EZRA
